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              UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA


     vs.                                     3:23-CR-26-2

CHRISTINA PATACKY-BEGHIN,

                   Defendant


                                    PLEA

                     rd
AND NOW, this ;?3,.,,. day of March, 2023, the within named

Defendant, CHRISTINA PATACKY-BEGHIN, having been arraigned in

open Court, hereby pleads NOT GUILTY to the within Indictment.
